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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              VALDOSTA DIVISION


PEGGY RANDALL,

        Plaintiff,

v.                                              Civil Action No. 7:20-CV-211 (HL)

W & S FUNDS, LLC d/b/a
PLATINUM VENTURE, ELIZABETH
CRUIKSHAN, and CRUIKSHANK
ERIN LLC.,

        Defendants.

                                       ORDER

        Plaintiff Peggy Randall filed this pro se petition for a permanent injunction

on October 21, 2020, alleging that Defendants W&S Funds, LLC, Elizabeth

Cruikshank, and Cruikshank LLC improperly filed a foreclosure action on her

property. Plaintiff filed a motion to proceed in forma pauperis and a motion for a

preliminary injunction, both of which were denied by the Court on October 6, 2021.

Plaintiff then filed an Amended Complaint with the Court on March 15, 2021, and

a motion to set aside the reverse foreclosure sale and eviction on November 16,

2021.

        The Court sent Plaintiff Rule 4 service information package in October 2021.

She subsequently filed another motion but did not serve any defendants. Noting

that Plaintiff had not yet served Defendants with a copy of the Summons and

Complaint, on May 2, 2022, the Court issued an Order for Plaintiff to show cause
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why her case should not be dismissed for failure to effect service pursuant to

Federal Rule of Civil Procedure 4(m). (Doc. 17). The mail was returned on May 16,

2022 as undeliverable and Plaintiff has not responded to the Court’s May 2 order.

Plaintiff has not updated her contact information with the Court. Litigants must

provide a name, telephone number, and mailing address to the Court and have a

duty to keep that contact information up to date. Having failed to serve Defendants

or to respond to the Court’s Order, and having otherwise failed to communicate

with the Court, the Court DISMISSES this action without prejudice. Fed. R. Civ.

P. 41(b).

      SO ORDERED this 31st day of May, 2022.


                                 s/ Hugh Lawson______________
                                 HUGH LAWSON, SENIOR JUDGE
